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                             UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 8
                                      AT SEATTLE
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10          HORACE G. FRIEND,                             CASE NO. C21-5566JLR

11                               Plaintiff,               ORDER ON REFERRAL FROM
                   v.                                     NINTH CIRCUIT
12
            U.S. ATTORNEY GENERAL,
13
                                 Defendant.
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15          Before the court is a referral notice filed by the Ninth Circuit Court of Appeals.

16   (Not. (Dkt. # 17).) Plaintiff Horace G. Friend appealed this court’s order dismissing his

17   amended complaint for failure to state a claim. (See 9/21/21 Order (Dkt. # 9); Judgment

18   (Dkt. # 14); Not. of Appeal (Dkt. # 15).) The Ninth Circuit has referred the matter back

19   to this court “for the limited purpose of determining whether in forma pauperis status

20   should continue for this appeal or whether the appeal is frivolous or taken in bad faith.”

21   (Not. (citing 28 U.S.C. § 1915(a)(3)).)

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     ORDER - 1
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 1          Although the court determined that Mr. Friend’s amended complaint failed to state

 2   a claim, it does not find that his appeal is frivolous or taken in bad faith. See 28 U.S.C.

 3   § 1915(a)(3). Accordingly, the court determines that Mr. Friend’s in forma pauperis

 4   status should continue on appeal.

 5          Dated this 19th day of October, 2021.

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 7                                                     A
                                                       JAMES L. ROBART
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                                                       United States District Judge
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     ORDER - 2
